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  Diddy's LA, Miami homes raided by
  federal agents as part of sex­
  trafficking probe: report
  By Alex Oliveira
  Published March 25, 2024, 5:04 p.m. ET




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  Diddy's homes in Los Angeles and Miami were raided Monday as part of a federal sex-trafficking
  investigation, according to law enforcement.

  The raid was made by Homeland Security Investigations in the Holmby Hills area of Los Angeles,
  with federal agents pictured coming out of Ille home with boxes and bags of evidence, including
  electronics.

  A Miami home owned by record label boss Diddy- real name Sean Combs - was also raided
  Monday as part of Ille same operation, federal sources confirmed.
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